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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


DEFENSE DISTRIBUTED,

                               Plaintiff,
                                                               1:25-cv-1095
v.                                                   Case No. _________________________


YOUTUBE LLC, GOOGLE LLC, and
ALPHABET, INC.

                               Defendants.




                   DECLARATION OF MICHAEL A. ROME IN SUPPORT OF
                         DEFENDANTS’ NOTICE OF REMOVAL

         I, Michael A. Rome, declare and state as follows:

         1.      I am a partner at Cooley LLP and an attorney of record for Defendants YouTube

LLC, Google LLC, and Alphabet, Inc. (collectively, “Defendants”) in the above-captioned matter.

I am licensed to practice law in the state of California and my pro hac vice is forthcoming. I make

this declaration based on my personal knowledge and, if called as a witness, I could and would

testify competently to the matters stated herein.

         2.      I submit this declaration in support of Defendants’ Notice of Removal, which

removes this action, originally filed in the Third Business Court Division of the Business Court of

the State of Texas, Case No. 25-BC03B-0009 (“State Court Action”), to the United States District

Court for the Western District of Texas, Austin Division, pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446.




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         3.      Attached hereto as Exhibit A are true and correct copies of all process, pleadings,

and orders in the State Court Action received by Defendants.

         4.      Attached hereto as Exhibit B is a true and correct copy of Plaintiff’s Articles of

Incorporation with the State of Texas obtained from the Texas Secretary of State’s website,

https://direct.sos.state.tx.us, on June 23, 2025.

         5.      Attached hereto as Exhibit C is a true and correct copy of the results of an “Entity

Name Search” for Defense Distributed obtained from the Texas Secretary of State’s website,

https://direct.sos.state.tx.us, on June 23, 2025.



         I declare under penalty of perjury that the foregoing is true and correct. Executed on

July 14, 2025 in Los Angeles, California.




                                                    /s/ Michael Rome
                                                    Michael A. Rome (pro hac vice forthcoming)

                                                    COOLEY LLP
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                                                    Attorney for Defendants YouTube LLC, Google
                                                    LLC, and Alphabet, Inc.




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